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 The relief described hereinbelow is SO ORDERED.

 Signed July 14, 2021.


                                                      __________________________________
                                                                   Ronald B. King
                                                        Chief United States Bankruptcy Judge




                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

   In re:                                         §   Chapter 11
                                                  §
   DARYL GREG SMITH,                              §   Case No. 21-60162-rbk
                                                  §
   CANADIAN RIVER RANCH, LLC                      §   Case No. 21-60163-rbk
                                                  §
             Debtors.                             §   (Jointly Administered Under
                                                  §   Case No. 21-60162-rbk)


             ORDER: (I) APPROVING ASSUMPTION OF SOLAR LEASE;
              (II) AUTHORIZING ENTRY INTO LEASE AMENDMENT;
    (III) PROVIDING PROTECTIONS FOR LESSEE; AND (IV) AUTHORIZING THE
    CHAPTER 11 TRUSTEE TO EXECUTE CERTAIN DOCUMENTS PURSUANT TO
      FEDERAL RULE OF CIVIL PROCEDURE 70, MADE APPLICABLE TO THIS
   PROCEEDING THROUGH FEDERAL RULE OF BANKRUPTCY PROCEDURE 7070

            CAME ON FOR HEARING on July 13, 2021 (the “Hearing”) on the Trustee’s Expedited

  Motion for Entry of Order: (i) Authorizing Assumption of Solar Lease; (ii) Authorizing Entry into

  Lease Amendment; (iii) Providing Protections for Lessee; and (iv) Authorizing the Chapter 11

  Trustee to Execute Certain Documents Pursuant to Federal Rule of Civil Procedure 70, Made

  Applicable to this Proceeding through Federal Rule of Bankruptcy Procedure 7070 (the

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  “Motion”), filed in the above styled and numbered jointly administered Chapter 11 case (the

  “Bankruptcy Cases”) by Gregory S. Milligan, in his capacity as Chapter 11 Trustee for the estates

  of Daryl Greg Smith (“Smith”) and Canadian River Ranch, LLC (“CCR”, with Smith, the

  “Debtors”), the debtors and Plaintiffs herein; and appearances at the Hearing having been made

  by counsel to K. Smith, the Receiver, Angus Solar, the Trustee, the United States Trustee and

  proposed counsel to the Debtors.

           Based upon the evidence at said Hearing, the Court makes the following findings of fact

  and conclusions of law1:

           1.        On April 9, 2021, the Debtors filed their voluntary petitions for relief under

  Chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), thereby creating their

  respective bankruptcy estates and initiating the Bankruptcy Cases. Smith’s bankruptcy estate is

  defined hereby as the “Smith Estate” and CCR’s bankruptcy estate is defined as the “CCR

  Estate”. The Smith Estate and the CCR Estate are collectively referred to as the “Estates”.

           2.        On June 29, 2021, an order was entered approving the appointment of Gregory S.

  Milligan as Chapter 11 Trustee (the “Trustee”) for the Estates. The Trustee has the duties set forth

  in sections 1106 and 1108 of the Bankruptcy Code.

           3.        Caddoa Creek Ranch, LLC (“Caddoa”) is a Colorado limited liability company,

  90% owned by Smith and 10% owned by Darren Keith Reed (“Reed”).

           4.        On or about October 31, 2017, Caddoa, as landlord, and Angus Solar, LLC

  (“Angus”), as tenant, entered into that certain Ground Lease Agreement (the “Lease”), as amended

  by the First Amendment to Ground Lease Agreement dated July 22, 2020. The Lease relates to a


  1
   The findings and conclusions set forth herein and in the record of the Hearing constitute the Court’s findings of fact
  and conclusions of law under Rule 52 of the Federal Rules of Civil Procedure, as made applicable herein by
  Bankruptcy Rules 7052 and 9014. To the extent any of the following conclusions of law constitute findings of fact, or
  vice versa, they are adopted as such.

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  proposed solar energy farm to be built and owned by Angus, or its affiliates, on certain land then

  owned by Caddoa, specifically: up to 1,300 acres, plus or minus, of real property located

  approximately 1 mile west of County Road 2490 and near the City of Valley Mills, Bosque County,

  Texas, within Property ID Number R07041, R25530, R06132, R25531, R25559, R06131, R35349,

  R35348, R06101, R25533, R05181, R06113, R25532, and R35350 (collectively, the “Subject

  Property”).

           5.        On June 28, 2019, Caddoa and Angus executed that certain Memorandum of Lease,

  which Angus caused to be filed with Bosque County (the “County”) and recorded against title to

  the Subject Property as instrument number 2019-02195 (the “Lease Memorandum”).

           6.        The Subject Property is more fully described on Exhibit “A” to the Lease and on

  Exhibits “A” and “B” to the Lease Memorandum and, in all events, the Subject Property as defined

  and identified in the Lease and the Lease Memorandum will control. The legal description of the

  Subject Property is attached hereto as Exhibit 5.

           7.        The recording of the Lease Memorandum against title to the Subject Property gives

  Angus an encumbrance, enforceable against the world, against the Subject Property, as well as

  easement interests in and to the Subject Property. Pursuant to Texas law and the terms of the

  Lease, any transfer by Caddoa of its interests in the Subject Property or the Lease shall remain

  subject to the Lease.

           8.        Separately, and after extensive divorce proceedings between Smith and his ex-wife,

  Karen Annette Smith (“K. Smith”), on November 27, 2019, the 325th Judicial District Court for

  Tarrant County, Texas (the “State Court”) entered that certain Final Decree of Divorce (the

  “Judgment”) in Cause No. 325-584465-15 (the “State Court Proceeding”). The Judgment has

  not been stayed, although it remains subject to potential appeals and discretionary review, none of


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  which are prejudiced by anything contained in this Order except that, notwithstanding anything

  that may occur in connection with the Judgment or the State Court Proceeding, in no event shall

  any right, title, or interest of Angus in and to the Subject Property and recognized in or conferred

  by this Order be prejudiced.

           9.        Among other things, the Judgment ordered Smith to (a) vote his interest in Caddoa

  to dissolve Caddoa, and (b) cause Caddoa to transfer the Subject Property to Smith and to Reed

  individually, with Smith holding a 90% undivided interest in the Subject Property and Reed

  holding the remaining 10% undivided interest in the Subject Property. The Judgment orders that

  such transfers and the 90% interest that Smith held in the Subject Property would be subject to a

  lien in favor of K. Smith to secure the Judgment.

           10.       Smith did not comply with the Judgment’s order to effectuate the foregoing

  transfers. Accordingly, through subsequent proceedings in the State Court Proceeding, the State

  Court appointed Stanley W. Wright (“Wright” or the “Receiver”) as a receiver for Smith for the

  limited purposes of (a) effectuating the transfers of certain properties (the “Properties”), including

  the Subject Property, to Smith and to Reed and (b) recording deed of trust liens against such

  Properties, including the Subject Property, in favor of K. Smith to secure the Judgment (the “K.

  Smith Liens”).

           11.       Thereafter, on or about February 7, 2020, Wright, acting on the instructions of the

  State Court and in the stead of Smith, executed and caused to be recorded that certain Special

  Warranty Deed (the “Transfer Deed”) to effectuate the transfer of the Subject Property to Smith

  and to Reed. Upon the execution and recording of the Transfer Deed, the State Court discharged

  Wright as Receiver, which terminated his authority to act as a receiver granted to him by the State

  Court.


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           12.       The Transfer Deed provides that the “grantee” is “Stanley W. Wright, not in his

  individual capacity, but solely in his capacity as court-appointed receiver . . . for and on behalf of

  Daryl Greg Smith.” The Transfer Deed also transferred an undivided ten percent (10%) interests

  in the Subject Properties to Reed.

           13.       The splitting of legal title and equitable title on account of the requirement that

  Wright execute the Transfer Deed led to confusion and concern as to the Estates’ ability, absent

  the resolutions hereinafter provided, to provide clean title to and thus monetize the Subject

  Property.

           14.       Prior to the appointment of the Trustee, Smith requested that Wright, per 11 U.S.C.

  §543, file a revised Transfer Deed pursuant to the Judgment; however, Wright lacks the authority

  to do so because he has already been discharged as Receiver pursuant to the order that appointed

  him. As a result, Wright, in his capacity as Receiver (the capacity in which he executed the Transfer

  Deed), is legally incapable, absent reappointment, of executing and filing a revised Transfer Deed

  to Smith and therefore cannot effectuate a revised Transfer Deed.

           15.       Nothing in this Order shall constitute any finding or conclusion with respect to any

  heretofore made assertions by the Debtors as to the appropriateness or lawfulness of the State

  Court’s actions, orders, or Judgment, and all rights regarding the same, including on any appeal or

  ancillary litigation for discretionary review, are preserved; except that, notwithstanding anything

  that may occur in connection with the Judgment or the State Court Proceeding, in no event shall

  any right, title, or interest of Angus, and its successors and assigns, in and to the Subject Property

  and recognized in or conferred by this Order, the Lease or the Lease Amendment be prejudiced.

           16.       All interests of Smith in Caddoa and in the Subject Property are property of the

  Smith Estate.


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           17.       All rights of Smith as the 90% owner of the Subject Property under the Lease are

  property of the Smith Estate and all obligations under the Lease are obligations of the Smith Estate,

  pursuant to the terms of the Lease, the recording of the Lease Memorandum, and section 102(2)

  of the Bankruptcy Code. The transfer of the Subject Property to Smith and Reed, and the granting

  of the K. Smith Liens, are all subject to the Lease, and all rights under the Lease are superior to

  the rights of K. Smith under the K. Smith Liens because the Lease Memorandum is recorded and

  is prior in time.

           18.       The Lease is an unexpired lease or executory contract of the Smith Estate, since it

  is a pre-existing charge and encumbrance against the Subject Property, and since the transfer of

  the Subject Property from Caddoa to Smith was expressly subject to the Lease pursuant to the

  terms of the Lease and the Lease Memorandum. As such, and even though Smith is not a party to

  the Lease, the Lease is a “lease of the debtor” within the meaning of section 365 of the Bankruptcy

  Code.

           19.       The assumption of the Lease is a proper exercise by the Trustee of his business

  judgment, and such assumption is in the best interests of the Smith Estate.

           20.       The Trustee, Smith, Reed, and Angus have prepared that certain Second

  Amendment to Ground Lease (the “Lease Amendment”) to clarify the ownership of the Subject

  Property, the identity of the lessor, and the rights of Angus. Entering into the Lease Amendment

  is a proper exercise by the Trustee of his business judgment and entering into the same is in the

  best interests of the Smith Estate. The Trustee and Angus have also prepared that certain Tenant

  Estoppel Certificate (the “Estoppel Certificate”) to be executed in connection with the Lease

  Amendment.




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           21.       All prerequisites and conditions to the assumption of the Lease and to the entry into

  the Lease Amendment have been satisfied. The Lease, as amended by the Lease Amendment,

  shall be referred to herein as the “Amended Lease”. Subject to the rights of Angus, Smith and

  Reed under this Order, the Amended Lease shall remain assignable by Smith and the Smith Estate

  to Caddoa, and the Subject Property shall remain subject to potential transfer by Smith and the

  Smith Estate to Caddoa, subject to the rights of K. Smith under the K. Smith Liens.

           22.       Angus is leasing property of the Smith Estate under the Amended Lease and this

  Order in good faith, for reasonably equivalent value, and without any collusion, bad faith, or secret

  agreement. Accordingly, Angus is entitled to the full protections of section 363(m) of the

  Bankruptcy Code.

           23.       The Court has jurisdiction over the Motion and all matters in this Order under

  28 U.S.C. § 1334. Such jurisdiction is core under 28 U.S.C. § 157(b)(2). Venue of the Bankruptcy

  Cases before this Court is proper under 28 U.S.C. §§ 1408 and 1409.

           24.       Due, sufficient, and proper notice of the Motion and of the Hearing thereon was

  provided by the Trustee to all parties with an interest in the Motion and this Order, including, but

  not limited to, Smith, K. Smith, Reed, Caddoa, Angus, and Wright. Cause exists to grant all relief

  provided for in this Order, and such relief is in the best interests of the Estates. Any factual

  predicates for granting any such relief have been satisfied. Proposed counsel to the Debtors

  appeared at the Hearing and had no objection to the relief requested in the Motion.

           25.       Notwithstanding the potential retention of legal title in and to the Subject Property

  by Wright, the Court has exclusive in rem jurisdiction over the whole of the Subject Property under

  28 U.S.C. § 1334(e), including to make all findings of fact and conclusions of law, and to cause

  this Order to be recorded against the Subject Property and to be enforceable against the same both


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  in rem and in personam as against all parties. The Court has the authority to enter this Order

  pursuant to 11 U.S.C. §§ 105(a), 363, 365, and 543, and Rule 70 of the Federal Rules of Civil

  Procedure made applicable by Bankruptcy Rule 7070.

              ACCORDINGLY,          it   is   hereby   ORDERED,      ADJUDGED,        DECREED,       and

  DETERMINED :

              That the Motion is GRANTED as set forth herein;

         I.        Matters Regarding the Lease

              A.      The Amended Lease is ASSUMED by the Smith Estate and shall be binding on the

  Smith Estate according to its terms;

              B.      The Lease Amendment is APPROVED and the Trustee is authorized and directed

  to execute and deliver the Lease Amendment in the form attached hereto as Exhibit 1, whereafter

  the same or a memorandum thereof may be recorded against the Subject Property by either the

  Trustee or Angus. In connection with the delivery by Angus of the Lease Amendment, Angus

  shall also provide the Estoppel Certificate to the Trustee in the form attached hereto as Exhibit 2;

              C.      With the assumption of the Amended Lease, all rights, powers, interests, title, and

  obligations of Angus and its successors and assigns under the Amended Lease shall be fully

  enforceable as against the world, including, without limitation, against Smith, the Estates, Reed,

  Wright and K. Smith, and fully enforceable against the Subject Property in rem, notwithstanding

  any absence by them of any approval of any transaction provided for herein or in the Amended

  Lease, such approval not being required given the Court’s exclusive in rem jurisdiction over the

  Subject Property;

              D.      The Trustee is authorized to execute and deliver any additional amendments,

  estoppels, affidavits or other documents as may be reasonably required for Angus to obtain


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  financing for the construction and operation of the solar facility to be located on the Subject

  Property, including any such documents as may be required for Angus’ title company (the “Title

  Company”) to issue a title policy insuring Angus’ leasehold interest in the Subject Property and

  insuring the lien of Angus’ construction lender against such leasehold interest;

              E.      To the extent that the Amended Lease requires further modification or amendment

  in order to effectuate the economic terms set forth therein, for so long as the Trustee is authorized

  to act on behalf of the Debtors, the Trustee shall be authorized to take all actions as Landlord

  pursuant to the Amended Lease (and as defined therein). From and after the date the Trustee is no

  longer authorized to act on behalf of the Debtors, then Smith (or his legal successor) shall be

  authorized to take all actions as Landlord pursuant to the Amended Lease.

              F.      Smith, Reed, Caddoa, Wright and K. Smith, and all transferees and assigns thereof,

  and all agents, attorneys, and representatives thereof, are PERMANENTLY ENJOINED and

  PROHIBITED from contesting, questioning, or challenging - whether by legal process (except

  through appealing this Order), by recording any instrument against the Subject Property, by taking

  any action before any governmental authority, or by making any public statement - any and all

  rights, interests, and title of Angus and its successors and assigns under the Amended Lease, and

  any and all rights, title, and interest of Angus and its successors and assigns in and to the Subject

  Property; provided, however, that neither the foregoing injunction nor anything else contained

  herein shall limit or prejudice any landlord under the Amended Lease from exercising any and all

  available remedies upon any default under the Amended Lease.

        II.        Seniority of Amended Lease

              G.      The rights of Angus and its successors and assigns shall in all respects be superior

  to the rights of K. Smith or any other purported lienholders in respect of the Subject Property. The


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  Trustee, K. Smith and Angus are hereby authorized and directed to deliver and execute the

  Subordination Agreement attached hereto as Exhibit 3.

           H.        Smith, Reed, Caddoa, Wright and K. Smith, and all transferees and assigns thereof,

  and all agents, attorneys, and representatives thereof are PERMANENTLY ENJOINED and

  PROHIBITED from exercising in any way any legal title that any such party may have in the

  Subject Property to contest, challenge, question, seek to limit, or seek to take away any and all

  rights of Angus and its successors and assigns under the Lease or Lease Amendment, or in and to

  the Subject Property;

           I.        Nothing herein prejudices any and all rights of K. Smith on account of the K. Smith

  Liens, subject to the automatic stay, and nothing herein enjoins K. Smith from exercising all rights

  under the K. Smith Liens, subject to the automatic stay, except that, for the avoidance of any doubt,

  any foreclosure by K. Smith of any lien against the Subject Property shall be subject to all rights,

  interests, and title of Angus and its successors and assigns in and to the Subject Property;

           J.        Nothing in this Order recognizes or calls into question the validity, extent, and

  priority of the K. Smith Liens, or prejudices any and all issues, arguments, and rights regarding

  the same, including any and all rights of the Trustee to challenge the same as may be otherwise

  appropriate.

       III.     Reservation of Rights

           K.        Without necessarily deciding that any proceeds of the Lease and Lease Amendment

  are “cash collateral” under section 363(a) of the Bankruptcy Code, to the extent that the Trustee

  receives such proceeds, all rights under section 363 of the Bankruptcy Code with respect to any

  holder of an interest in cash collateral are preserved, and the Trustee shall not use any such

  proceeds pending the entry of further order of the Court;


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           L.        In light of Reed having consented to the entry of this Order and to the Lease

  Amendment, no further proceeding with respect to Reed’s interest in the Subject Property is

  necessary, and Reed retains any and all rights he has with respect to any proceeds of the Lease and

  Lease Amendment, which rights shall not constitute cash collateral with respect to his 10%

  undivided interest (the “Reed Percentage”), provided that in no event shall Reed have any rights

  or claims against Angus or its successors and assigns for any proceeds of the Lease or Lease

  Amendment if Angus performs thereunder by sending any applicable payments to the Trustee, or

  if the Trustee is no longer authorized to act on behalf of the Debtors, to the successor to the Trustee,

  or as otherwise instructed by the Court. The Amended Lease contemplates that the lease payments

  by Angus to the Trustee will include the Reed Percentage. The Reed Percentage shall be held in

  trust for the benefit of Reed and shall not constitute property of the estate of the Debtors. The

  Trustee shall promptly remit the Reed Percentage to Reed upon receipt. The remittance by the

  Trustee of the Reed Percentage shall not be considered a disbursement of the Estates for any

  purpose. The obligations of the Trustee in this paragraph with respect to the Reed Percentage

  (including the obligation to promptly remit payment) shall be binding upon any successors or

  assigns of the Trustee;

           M.        Smith reserves the right to seek to convey his interest in the Subject Property to

  Caddoa under a potential Chapter 11 plan or otherwise, and nothing in this Order prejudices or

  prevents any issue with respect to the same;

           N.        This Order may be recorded against the Subject Property, and the County is directed

  and ordered to accept the same for recording, whereafter this Order shall govern and control as to

  all issues expressly provided for herein, and shall be binding on the world.




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       IV.        Revised Transfer Deed

             O.      The Trustee, pursuant to Rule 70 of the Federal Rules of Civil Procedure, made

  applicable by Bankruptcy Rule 7070, is authorized and directed to deliver and execute the revised

  Transfer Deed (the “Revised Transfer Deed”) attached hereto as Exhibit 4.

        V.        Miscellaneous

             P.      Effectiveness of All Actions. All actions contemplated by this Order are hereby

  authorized to be taken without further application to or order of the Court.

             Q.      Approval of Payment Satisfaction Documents. The Bankruptcy Court approves

  the Lease Amendment, the Subordination Agreement and the Revised Transfer Deed (collectively,

  the “Approved Documents”). The Trustee shall have no personal liability for executing the

  Approved Documents. The Trustee is authorized to execute and deliver such other documents as

  Angus, its successors or assigns, or the Title Company may deem necessary to implement the

  transactions contemplated by the Lease Amendment, and shall perform, execute, and deliver or

  cause to be delivered and undertake any and all further acts, deeds, and assurances as may

  reasonably be required to consummate the transactions contemplated in the Lease Amendment.

             R.      Effect of Conflict. The provisions of the Lease Amendment and this Order shall

  be construed in a manner consistent with each other so as to effect the purpose of each; provided,

  however, that if there is determined to be any inconsistency between any provision of the Lease

  Amendment and any provision of this Order that cannot be so reconciled, then solely to the extent

  of such inconsistency, the provisions of this Order shall govern and any provision of this Order

  shall be deemed a modification of the Lease Amendment and shall control and take precedence.

  The provisions of this Order are integrated with each other and are non-severable and mutually

  dependent.


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           S.        The order authorizes the use, sale or lease of property and this order shall be

  immediately effective upon entry and shall not be stayed pursuant to Bankruptcy Rule 6004(h).

           T.        This Court shall retain jurisdiction to the maximum extent possible to interpret and

  to enforce this Order.

           U.        The provisions of this Order shall be binding upon and inure to the benefit of the

  Debtors, the Trustee, Angus, Reed, K. Smith and all parties in interest, and all creditors, and each

  of their respective successors and assigns (including any trustee or other fiduciary hereinafter

  appointed as a legal representative of the Debtors or with respect to the property of the estates of

  the Debtors) whether in the Bankruptcy Cases or upon conversion or dismissal of any such chapter

  11 or chapter 7 case.

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  APPROVED AS TO FORM AND CONTENT, AND ENTRY REQUESTED BY:

  WALLER LANSDEN DORTCH & DAVIS, LLP

  By: /s/ Morris D. Weiss
  Morris D. Weiss
  Texas Bar No. 21110850
  William R. “Trip” Nix, III
  Texas Bar No. 24092902
  100 Congress Ave., Suite 1800
  Austin, Texas 78701
  Telephone: (512) 685-6400
  Facsimile: (512) 685-6417
  Email: morris.weiss@wallerlaw.com
          trip.nix@wallerlaw.com

  PROPOSED ATTORNEYS FOR GREGORY S. MILLIGAN,
  CHAPTER 11 TRUSTEE


  By: /s/ E. P. Keiffer
  E. P. Keiffer (SBN 11181700)
  Kevin McCullough (SBN 00788005)
  Zach Levick (SBN 24119380)
  ROCHELLE MCCULLOUGH, LLP
  325 N. St. Paul Street, Suite 4500
  Dallas, Texas 75201
  Telephone: (214) 953-0182
  Facsimile: (214) 953-0185
  pkeiffer@romclaw.com
  kdm@romclaw.com
  zlevick@romclaw.com

  COUNSEL FOR KAREN ANNETTE SMITH




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  By: /s/ Timothy A. Million
  TIMOTHY A. MILLION
  Texas Bar No. 24051055
  Husch Blackwell LLP
  600 Travis St Ste 2350
  Houston, TX 77002-2629
  Telephone: (713) 525-6221
  Facsimile: (713) 647-6884
  Tim.Million@huschblackwell.com

  COUNSEL TO ANGUS SOLAR, LLC


  By: /s/ Rene Escobedo
  Rene Escobedo
  State Bar No. 00785849
  6800 Park Ten Blvd, Suite 135-E
  San Antonio, TX 78213
  Telephone: (210) 349-2224
  Facsimile: (210) 223-3815
  rene.escobedo@rre-law.com

  COUNSEL TO DARREN KEITH REED




  ORDER: (I) APPROVING ASSUMPTION OF SOLAR LEASE; (II) AUTHORIZING ENTRY INTO LEASE
  AMENDMENT; AND (III) PROVIDING PROTECTIONS FOR LESSEE—Page 15
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                                    EXHIBIT 1

                                  Lease Amendment




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  NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY
  REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM ANY
  INSTRUMENT THAT TRANSFERS AN INTEREST IN REAL PROPERTY BEFORE IT IS
  FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER
  OR YOUR DRIVER’S LICENSE NUMBER.




  Drawn by and after recording return to:
  Angus Solar, LLC
  c/o Cypress Creek Renewables, LLC
  3402 Pico Blvd.
  Santa Monica, CA 90405

  STATE OF TEXAS
                                                                           SECOND AMENDMENT
                                                                   TO GROUND LEASE AGREEMENT
  COUNTY OF BOSQUE


           THIS SECOND AMENDMENT TO GROUND LEASE AGREEMENT (this “Amendment”)
  is entered into as of the last date of execution below (the “Effective Date”), by and between Angus Solar,
  LLC, a Texas limited liability company (“Tenant”) and Daryl Greg Smith (“Daryl”) and Darren K. Reed
  (“Reed,” together with Daryl, “Landlord”); Landlord and Tenant, collectively, are hereinafter referred to
  as the “Parties”.
                                                 WITNESSETH:

           A.     WHEREAS, Caddoa Creek Ranch, LLC (“Original Landlord”) and Tenant entered into
  that certain Ground Lease Agreement dated October 31, 2017, as evidenced by that certain Memorandum
  of Lease dated May 22, 2019 and recorded on June 28, 2019 in the Bosque County Clerk’s Office,
  Instrument No. 2019-02195 (the “Memorandum”), as amended by that certain First Amendment to
  Ground Lease Agreement dated July 22, 2020 (collectively, the “Lease”), pursuant to which Original
  Landlord leased to Tenant certain real property located 1 mile, more or less, West of County Road 2490
  and near the City of Valley Mills, Bosque County, Texas, as more particularly described in the Lease;

          B.      WHEREAS, on April 9, 2021, Daryl, who owned 90% of the aggregate equity interests in
  Original Landlord, and Canadian River Ranch, LLC (“CRR,” together with Daryl, the “Debtors”) filed a
  voluntary petition for relief under Chapter 11 of Title 11, United States Code with the United States
  Bankruptcy Court for the Western District of Texas, Waco Division (the “Bankruptcy Court”), Jointly
  Administered Under Case No. 21-60162-rbk (the “Bankruptcy Case”);

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         C.      WHEREAS, on June 23, 2021, the Bankruptcy Court entered that certain Order
  Regarding Motion to Appoint a Chapter 11 Trustee authorizing the United States Trustee to appoint a
  Chapter 11 Trustee for the Debtors;

          D.      WHEREAS, on June 29, 2021, the Bankruptcy Court entered that certain Order
  Approving Appointment of Gregory S. Milligan as Chapter 11 Trustee approving the appointment of a
  Chapter 11 Trustee and appointing Gregory S. Milligan as Chapter 11 trustee for the Bankruptcy Case
  (the “Chapter 11 Trustee”) for the Debtors;

           E.       WHEREAS, on July [●], 2021, and in order to revise a previous transfer of the right, title
  and interest in the Land made by Stanley W. Wright via a Special Warranty Deed dated February 7, 2020,
  the Bankruptcy Court entered that certain Order (I) Approving Assumption of Solar Lease; (II)
  Authorizing Entry into Lease Amendment; (III) Providing Protections for Lessee; and (IV) Authorizing
  the Chapter 11 Trustee to Execute Certain Documents Pursuant to Federal Rule of Civil Procedure,
  Made Applicable to this Proceeding through Federal Rule of Bankruptcy Procedure 7070 (the “July
  Bankruptcy Order”) authorizing the Chapter 11 Trustee to transfer to Daryl a 90% undivided interest in
  and to the Land (as defined in the Lease), including, without limitation, all right, title and interest in and
  to the Lease and, accordingly, pursuant to that certain Special Warranty Deed, dated on or before the date
  hereof, and executed by the Chapter 11 Trustee, the Chapter 11 Trustee conveyed a 90% undivided
  interest in and to the Land to Daryl;

          F.       WHEREAS, pursuant to the July Bankruptcy Order, the Bankruptcy Court authorized
  and directed the Chapter 11 Trustee to deliver and execute this Amendment; and

          G.     WHEREAS, Landlord and Tenant desire to amend the Lease as more particularly set
  forth below. All of the capitalized terms used in this Amendment, unless otherwise defined herein, shall
  have the same meaning as assigned to such terms in the Lease.

                                                  AMENDMENT

           NOW, THEREFORE, for and in consideration of the mutual covenants of the Parties hereto, and
  other good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
  Parties hereby agree as follows:

          1.       Landlord. The Landlord under the Lease is hereby amended to be: “Daryl Greg Smith, as
  to an undivided 90% interest, and Darren K. Reed, as to an undivided 10% interest”. Notwithstanding
  anything to the contrary in the Lease, Landlord has all rights of “Landlord” under the Lease, including,
  without limitation, any and all rights that require the consent of Landlord, and this Amendment shall in no
  way terminate, remove or otherwise alter any such rights even though such rights might otherwise have
  been personal to Original Landlord under the terms of the Lease.

        2.      Notice. The notice address for the Landlord set forth in the “Basic Lease Terms
  Summary” is hereby amended to be as follows:

          Landlord’s Notice Address                                  Daryl Greg Smith
          (Section 19)                                               5826 Cooksey Ln.
                                                                     Waco, TX 76706
                                                                      With a Copy to:
                                                                 c/o Gregory S. Milligan
                                                         Chapter 11 Trustee for Daryl Greg Smith
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                                                           3800 N. Lamar Boulevard, Suite 200
                                                                   Austin, TX 78756

                                                                            and

                                                                   Darren Keith Reed
                                                                      611 S. Llano
                                                                  Whitney, Texas 76692




           3.      Rent Payment. Section 7 of the Lease is hereby amended to add the following subsection
  “(f) For so long as Gregory S. Milligan continues to serve as the Chapter 11 Trustee (“Chapter 11
  Trustee”) over Daryl Greg Smith’s bankruptcy estate in the Chapter 11 case pending in United States
  Bankruptcy Court for the Western District of Texas, Waco Division and jointly administered under Case
  No. 21-60162-rbk (the “Smith Bankruptcy”), Tenant shall make payments of Rent by delivering said
  payments to Gregory S. Milligan, Chapter 11 Trustee as detailed in the Landlord’s Notice Address (as
  amended by paragraph 2 of the Second Amendment to Ground Lease Agreement). From and after the
  date the Chapter 11 Trustee has been discharged, Tenant shall make payments of Rent by delivering said
  payments to the successor to the Chapter 11 Trustee (with any such successor remitting ten percent (10%)
  of such Rent to Darren K. Reed and, in connection with such payment of Rent, Darren K. Reed agrees
  that in no event shall he have any claim against Tenant for any failure of such successor to comply with
  his/her obligation to remit such ten percent (10%) to Darren K. Reed). The Chapter 11 Trustee and each
  Landlord agree that, (1) prior to the discharge of the Chapter 11 Trustee, the Chapter 11 Trustee will
  provide Tenant with a joint written notice signed by the Chapter 11 Trustee and each Landlord informing
  Tenant of the identity of the successor to the Chapter 11 Trustee and providing Tenant the address for
  such successor where payment of Rent should be sent (the “Successor Notice”) and (2) upon the
  discharge of the Chapter 11 Trustee, Tenant shall have no obligation to pay Rent under the Lease until
  Tenant’s receipt of the Successor Notice informing Tenant of the successor to the Chapter 11 Trustee and
  the address where payment of Rent should be sent.”

           4.       Assignment; Transfers. Section 26(b) of the Lease is modified to provide that either
  Daryl Greg Smith or Darren K. Reed may Transfer his respective interests in the Lease in a manner
  consistent with such section, including without limitation, the requirement that Landlord give Tenant at
  least thirty (30) days’ prior notice of any Transfer by Landlord. For so long as the Chapter 11 Trustee
  continues to serve in such capacity, he will have the right to take actions on behalf of Smith.

           5.      Ratification. The Lease, as amended by this Amendment, is hereby ratified by Landlord
  and Tenant. Except as expressly amended by this Amendment, all terms and conditions of the Lease shall
  remain unchanged and in full force and effect. In the event of any inconsistency between the terms and
  conditions of the Lease and this Amendment, the terms and conditions of this Amendment shall control.
  This Amendment and the Lease cannot be modified in any manner other than by written modification
  executed by Landlord and Tenant. The Lease, as hereby amended, contains all of the terms agreed upon
  between Landlord and Tenant with respect to the subject matter hereof. Landlord acknowledges and
  agrees that the Lease is in full force and effect and that to Landlord’s knowledge, Tenant, as of the date of
  this Amendment, is not in default in performance of any covenant, agreement or condition contained
  therein, and that no event has occurred that, after the passage of time or giving of notice, would constitute
  a default. Tenant acknowledges and agrees that the Lease is in full force and effect, that to Tenant’s
  knowledge, as of the date of execution of this Amendment, and except for defaults related to the Smith
  Bankruptcy or the previous transfer of the right, title and interest in the Land made by Stanley W. Wright
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  via a Special Warranty Deed dated February 7, 2020, each of which are hereby waived by Tenant,
  Landlord is not in default in performance of any covenant, agreement or condition contained therein, and
  that no event has occurred that, after the passage of time or giving of notice, would constitute a default.

          6.       Memorandum. This Amendment shall also amend the Memorandum and give updated
  record notice of the Lease and of the rights created hereby.

            7.     Counterparts. This Amendment may be executed in any number of counterparts, each of
  which shall be deemed to be an original, and all such counterparts shall constitute one agreement. To
  facilitate execution of this Amendment, the Parties may execute and exchange by email counterparts of
  the signature pages, which email counterpart shall be binding as if they were originals. No originals shall
  be required.

           8.       Miscellaneous. The Parties have read this Amendment and on the advice of counsel they
  have freely and voluntarily entered into this Amendment. This Amendment shall be binding on and inure
  to the benefit of the parties and their successors.




                                              [signature pages follow]




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          IN WITNESS WHEREOF, the parties have executed and delivered this Amendment as of the
  Effective Date.




                                                  LANDLORD:


                                              By: ____________________________
                                                  Gregory S. Milligan Chapter 11 Trustee for Daryl Greg Smith
                                                  In Case No. 21-60162 before the United States Bankruptcy
                                                  Court for the Western District of Texas, Waco Division


                                              Date:



  STATE OF         __________        §
                                     §
  COUNTY OF __________               §




          The foregoing instrument was acknowledged before me on this ____ day of _____________,
  2021, by                             .




                                                      Notary Public in and for the State of ___________




                                         [signatures continue on next page]




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                                             By:___________________________
                                                Darren Keith Reed

                                             Date:



  STATE OF         __________        §
                                     §
  COUNTY OF __________               §



          The foregoing instrument was acknowledged before me on this ____ day of _____________,
  2021, by                             .



                                                                       _______________________________
                                                      Notary Public in and for the State of ___________



                                             SPOUSE OF DARREN KEITH REED:


                                             By:___________________________
                                             ________________________________

                                             Date:


  STATE OF         __________        §
                                     §
  COUNTY OF __________               §



          The foregoing instrument was acknowledged before me on this ____ day of _____________,
  2021, by                             .



                                                                       _______________________________
                                                      Notary Public in and for the State of ___________

                                         [signatures continue on next page]




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                                                      TENANT:

                                                     Angus Solar, LLC

                                                     By: _______________________________
                                                     Name: _____________________________
                                                     Title: Authorized Person
                                                     Date: ______________________________




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                                             ORIGINAL LANDLORD:

                                             Caddoa Creek Ranch, LLC,

                                             By: _______________________________
                                             Name:
                                             Title:
                                             Date: ______________________________




  STATE OF         __________        §
                                     §
  COUNTY OF __________               §




        The foregoing instrument was acknowledged before me on this ____ day of
  _____________, 2021, by                    .




                                                      Notary Public in and for the State of ___________




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                                      EXHIBIT 2

                                  Estoppel Certificate




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                                   TENANT ESTOPPEL CERTIFICATE


                    Tenant:          Angus Solar, LLC

                    Premises:        Up to approximately 1,300 acres of that certain real property located
                                     approximately 1 mile, West of County Road 2490 and near the City of Valley
                                     Mills, Bosque County, Texas, within Property ID Number R07041, R25530,
                                     R06132, R25531, R25529, R06131, R35349, R35348, R06101, R25533,
                                     R05181, R06113, R25532 and R35350

                    Lease:           Ground Lease Agreement, dated as of October 31, 2017, by and between
                                     Caddoa Creek Ranch, LLC, as original landlord (the “Original Landlord”), and
                                     Tenant, as amended by that certain First Amendment to Ground Lease
                                     Agreement, dated as of July 22, 2020


 Ladies and Gentlemen:

         We are the Tenant under the Lease. We give this Certificate to Gregory S. Milligan, as Chapter 11
 Trustee (“Trustee”), for that voluntary petition for relief under Chapter 11 of Title 11, United States Code
 with the United States Bankruptcy Court for the Western District of Texas, Waco Division, Jointly
 Administered Under Case No. 21-60162-rbk. All of the capitalized terms used in this Certificate, unless
 otherwise defined herein, shall have the meaning as assigned to such term in the Lease. We certify to Trustee as
 follows:

           1.       The Lease, a complete and accurate copy of which is attached hereto as Exhibit A and
  incorporated herein by this reference, is in full force and effect and constitutes the valid, binding and
  enforceable obligation of Tenant. There are no amendments, assignments or modifications of any kind to
  the Lease except as stated in this Certificate and included in Exhibit_A. There are no promises,
  agreements, understandings or commitments between Landlord and Tenant relating to the Premises which
  are not set forth in the Lease. Tenant acknowledges that all of the interest of the Original Landlord in the
  Lease has been, or will be on or around the date hereof, transferred to Daryl Greg Smith, as to an
  undivided 90% interest, and Darren K. Reed, as to an undivided 10% interest.

           2.     Tenant is the owner and holder of all right, title and interest in the leasehold estate created
  by the Lease. Tenant has not subleased all or any part of the Premises or assigned the Lease, or otherwise
  transferred any of its interest in the Lease or the Premises. Tenant leases the entire 1,300 Acres of the
  Premises. Tenant is occupying the Premises and operating on the Premises for the use permitted under
  the Lease.

          3.      The initial term of the Lease shall commence on the date that Tenant begins construction
  of the System on the Premises and shall continue as set forth in the Lease, subject to its terms and
  conditions. The Lease contains four (4) successive renewal terms of five (5) years each.

          4.      The Rent as of the first Rent Payment Date will be Four Hundred Fifty and 00/100
  Dollars ($450) per Acre per year.

            5.       Tenant has not prepaid any Rent or other amounts to Landlord.

         6.      Tenant has paid an Initial Diligence Period Fee in the amount of $4,000 to Original
  Landlord. Tenant has also paid Extended Diligence Period Fees to Original Landlord in the aggregate
  amount of $33,000.

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         7.       Other than the first refusal to lease set forth in Section 39 of the Lease, Tenant has not
  been granted and has not exercised any options or rights of expansion, purchase or first refusal
  concerning the Lease or the Premises.

          8.       Tenant has not entered into any property management, service contracts, maintenance
  contracts or other contracts that are binding upon the owner of the Premises.

         9.       No voluntary actions or, to the best of Tenant’s knowledge, involuntary actions, are
  pending against Tenant under the bankruptcy laws of the United States or any state thereof.

           10.     The person signing this Certificate on behalf of Tenant is duly authorized to execute and
  deliver this Certificate for and on behalf of the Tenant.



                                         [Signature Page Follows]




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 TENANT

 ANGUS SOLAR, LLC


 By:
 Name:
 Title:




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                                                                          Signature Page
                                                               Tenant Estoppel Certificate
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                                     EXHIBIT A
                                      LEASE

                                    [See Attached]




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                                        EXHIBIT 3

                                  Subordination Agreement




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                                             SUBORDINATION AGREEMENT

          This Subordination Agreement (this "Subordination") is entered into as of July [●], 2021 (the "Effective Date"),
 among ANGUS SOLAR, LLC, a Texas limited liability company ("Lessee"), KAREN ANNETTE SMITH, an
 individual resident of the State of Texas ("Creditor"), and DARYL GREG SMITH, an individual resident of the State
 of Texas ("Daryl"), and DARREN KEITH REED, an individual resident of the State of Texas ("Darren," together with
 Daryl, "Owner").

                                                             Recitals

         A.      Owner is the owner of that certain real property and improvements located at 1 mile, more or less, West
 of County Road 2490 and near the City of Valley Mills, Bosque County, Texas (the "Property").

          B.      Caddoa Creek Ranch, LLC entered into that certain Ground Lease Agreement, dated as of October 31,
 2017, as amended by that certain First Amendment to Ground Lease Agreement, dated as of July 22, 2020, as further
 amended by that certain Second Amendment to Ground Lease Agreement, dated as of the date hereof, by and between
 Owner and Lessee (collectively, the "Lease"), with Lessee with respect to a portion of the Property comprising
 approximately 1,300 acres, as more particularly described in the Lease.

            C.        Pursuant to an order of the Court In The Matter of the Marriage of Karen Annette Smith and Daryl Greg
 Smith and In the Interest of Chloe Nicole Smith and Christopher Carson Smith, Minor Children, bearing Cause No. 325-
 584465-15 in the 325th Judicial District Court of Tarrant County, Texas, Daryl, in order to satisfy certain obligations and
 liabilities (collectively, the "Obligations") owed to Creditor, delivered to Creditor that certain Promissory Note, dated as
 of February 7, 2020 (the "Note"), in the original amount of $8,500,000, and payable to the order of Creditor, which Note
 is secured by (i) an Owelty lien in favor of Creditor on the full fee simple title to the Property; (ii) a Deed of Trust, Security
 Agreement, Assignment of Rents, and Financing Statement on Daryl’s 90% undivided interest in the Property, with
 Stanley W. Wright, for and on behalf of Daryl Greg Smith, as Grantor, Jeremy R. Pruett as Trustee, and Karen Annette
 Smith, as Lender, recorded as Instrument No. 2020-00456 in the Real Property Records of Bosque County, Texas; and
 (iii) a vendor’s lien retained as to said 90% undivided interest.

           D.      On April 9, 2021, Daryl and Canadian River Ranch, LLC ("CRR," together with Daryl, the "Debtors")
 filed a voluntary petition for relief under Chapter 11 of Title 11, United States Code with the United States Bankruptcy
 Court for the Western District of Texas, Waco Division (the "Bankruptcy Court"), Jointly Administered Under Case No.
 21-60162-rbk (the "Bankruptcy Case").

         E.       On June 23, 2021, the Bankruptcy Court entered that certain Order Regarding Motion to Appoint a
 Chapter 11 Trustee authorizing the United States Trustee to appoint a Chapter 11 Trustee for the Debtors.

          F.       On June 29, 2021, the Bankruptcy Court entered that certain Order Approving Appointment of Gregory
 S. Milligan as Chapter 11 Trustee approving the appointment of a Chapter 11 Trustee appointing Gregory S. Milligan as
 Chapter 11 trustee for the Bankruptcy Case (the "Chapter 11 Trustee") for the Debtors.

           G.       On July [●], 2021, and in order to revise a previous transfer of the right, title and interest in the Land
 made by Stanley W. Wright via a Special Warranty Deed dated February 7, 2020, the Bankruptcy Court entered that
 certain [Order] (the "July Bankruptcy Order") authorizing the Chapter 11 Trustee to transfer to Daryl a 90% undivided
 interest in and to the Property and, accordingly, pursuant to that certain Special Warranty Deed, dated on or before the
 date hereof, and executed by the Chapter 11 Trustee, the Chapter 11 Trustee conveyed a 90% undivided interest in and to
 the Property to Daryl.

          H.        Pursuant to the July Bankruptcy Order, the Bankruptcy Court authorized and directed the Chapter 11
 Trustee to deliver and execute this Subordination.

          I.        Lessee, Creditor and Owner desire to enter into this Subordination to memorialize the priority of the
 liens and interests of Creditor, Lessee and Owner in the Property.
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                                                         Agreement

          NOW, THEREFORE, for and in consideration of Ten Dollars and other good and valuable consideration, the
 receipt and sufficiency of which is acknowledge by the parties, Creditor, Lessee, and Owner hereby agree and covenant
 as follows:

          1.        Subordination. Until such time as the Obligations of Daryl to Creditor are indefeasibly paid in full,
 Creditor hereby subordinates any interest in the Property, including, without limitation, any rights of Lessee under the
 Lease, to the rights, interest and title of Owner and Lessee in the Property and the Lease, as applicable.

          2.      Enforcement Action. During the term of this Subordination, Creditor will not commence any action
 or proceeding against Daryl that would affect the rights of either Owner or Lessee under the Lease or Lessee’s use and
 enjoyment of the Property.

          3.        Relationship of Parties; No Third Party Beneficiaries. Neither party hereto assumes any
 responsibility to the other to advise such other party of information regarding the financial condition of any party hereto,
 matters pertaining to the Property or the Lease, or any other circumstances bearing upon the risk of nonpayment of the
 Obligations. This Subordination has been entered into solely for the benefit of the parties hereto and not for the benefit of
 any other person or entity.

         4.       Further Assurances. Each party agrees to execute and deliver to the other party such other and further
 instruments and agrees to take such further action as the other party may at any time or times reasonably request in order
 more completely to carry out the provisions' intent of this Subordination.

          5.        Notices. All notices hereunder shall be in writing and sent by certified mail (return receipt requested)
 or overnight mail to the other party at the address set forth on the signature page hereto or at such other address as such
 other party shall otherwise designate in accordance with this paragraph.

           6.        Termination. This Subordination shall continue in full force and effect until the indefeasible payment
 in full of all Obligations, at which time this Subordination shall automatically terminate with no further action or notice
 required by any party.

          7.       Governing Law. This Subordination is governed by the laws of the State where the Property is located,
 without regard to the conflict of laws provisions.

           8.       Miscellaneous. This Subordination shall be binding upon, and shall inure to the benefit of, the
 successors and assigns of Owner, Lessee and Creditor, as applicable; provided that Creditor shall not transfer or assign
 any lien that it may have in any of the Property to any other person or entity unless the transferee or assignee thereof shall
 first agree in writing to be bound by the terms of this Subordination the same as if an original signatory hereto. This
 Subordination may be executed in counterparts, each of which, when taken together, shall constitute one and the same
 agreement. Signature pages exchanged by .pdf or other electronic format shall be fully binding.



                                                   [Signature page follows]




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       IN WITNESS WHEREOF, the parties have executed this Subordination as of the Effective Date.

                                                        OWNER:


                                                        _______________________________
                                                        Gregory S. Milligan Chapter 11 Trustee for Daryl
                                                        Greg Smith In Case No. 21-60162 before the United
                                                        States Bankruptcy Court for the Western District of
                                                        Texas, Waco Division



                                                        _______________________________
                                                        DARREN K. REED

                                                        Notice Address:
                                                        611 S. Llano
                                                        Whitney, Texas 76692
                                                        Email:

                                                        CREDITOR:


                                                        _______________________________
                                                        KAREN ANNETTE SMITH

                                                        Notice Address:
                                                        _______________________________
                                                        _______________________________
                                                        _______________________________
                                                        Email:


                                                        LESSEE:

                                                        ANGUS SOLAR, LLC, a Texas limited liability
                                                        company

                                                        By: ____________________________
                                                        Name:
                                                        Title:

                                                        Notice Address:
                                                        c/o Cypress Creek Renewables, LLC
                                                        3250 Ocean Park Boulevard, Suite 355
                                                        Santa Monica, California 90405
                                                        Attention: Asset Management Department
                                                        Email: assetmanagement@ccrenew.com




                                                                                                Signature Page
                                                                                      Subordination Agreement
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                                       EXHIBIT 4

                                  Revised Transfer Deed




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  NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY
  REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM ANY
  INSTRUMENT THAT TRANSFERS AN INTEREST IN REAL PROPERTY BEFORE IT IS
  FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR
  YOUR DRIVER'S LICENSE NUMBER.

                                       SPECIAL WARRANTY DEED

  Effective Date:          _______________, 2021

  Grantor:                 GREGORY S. MILLIGAN, CHAPTER 11 TRUSTEE FOR DARYL GREG
                           SMITH IN CASE NO. 21-60162 BEFORE THE UNITED STATES
                           BANKRUPTCY COURT FOR THE WESTERN DISTRICT OF TEXAS, WACO
                           DIVISION

  Grantor’s Address:       3800 N. Lamar Boulevard, Suite 200
                           Austin, Texas 78756

  Grantee:                 DARYL GREG SMITH

  Grantee’s Address:       5826 Cooksey Lane
                           Waco, Texas 76706

  Consideration:
          Ten Dollars ($10.00) and other good and valuable consideration, the receipt and sufficiency of
  which is hereby acknowledged and in compliance with the terms of that certain [Order] dated July [●],
  2021.

  Property (including any improvements):
          A ninety percent (90%) undivided interest in and to those certain tracts of land located in Bosque
  County, Texas, being more particularly described on Exhibit “A”, Exhibit “B” and “Exhibit “C” attached
  hereto and incorporated herein by reference.

  Reservations from and Exceptions to Conveyance and Warranty:
          The conveyance of the Property is subject to (a) all validly existing restrictions, easements, liens,
  encumbrances, rights-of-way, prescriptive rights, reservations, covenants, conditions, mineral leases,
  mineral interests, and other instruments, other than conveyances of the surface fee estate, that affect the
  Property, including but not limited to (i) that certain Ground Lease Agreement, dated as of October 31,
  2017, by and between Caddoa Creek Ranch, LLC (“Original Landlord”) and Angus Solar, LLC (“Tenant”)
  as amended by that certain First Amendment to Ground Lease Agreement, dated as of July 22, 2020, as
  further amended by that certain Second Amendment to Ground Lease Agreement, dated as of the date
  hereof, by and between Daryl Greg Smith and Darren Keith Reed and Tenant and (ii) the Deed of Trust,
  Security Agreement, Assignment of Rents and Financing Statement in the original principal sum of
  $8,500,000 with Stanley W. Wright, for and on behalf of Daryl Greg Smith, as Grantor, Jeremy R. Pruett
  as Trustee, and Karen Annette Smith, as Lender, recorded as Instrument No. 2020-00456 in the Real
  Property Records of Bosque County, Texas; (b) all zoning laws, regulations and ordinances of municipal
  and other governmental authorities, if any; and (c) all taxes for 2019 and subsequent years, which Grantee
  assumes.

          Grantor, for the Consideration and subject to the Reservations from and Exceptions to Conveyance
  and Warranty, grants, sells, and conveys to Grantee, in the undivided interests specified herein, the Property,
  together with all and singular the rights and appurtenances thereto in any wise belonging, to have and hold
  it to Grantee, Grantee's heirs, executors, administrators, successors, or assigns forever. Grantor binds
  Grantor and Grantor’s heirs, executors, administrators, successors, and assigns to warrant and forever
  SPECIAL WARRANTY DEED                                                                               PAGE 1 OF 12
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  defend all and singular the Property to Grantee and Grantee’s heirs, successors, and assigns against every
  person whomsoever lawfully claiming or to claim the same or any part thereof, except as to the Reservations
  from and Exceptions to Conveyance and Warranty, when the claim is by, through, or under Grantor’s but
  not otherwise.

          When the context requires, singular nouns and pronouns include the plural.

           The parties hereto acknowledge that this Special Warranty Deed constitutes a partition of the
  Property pursuant to Article XVI, Section 50, (a), (3) of the Texas Constitution, and Section 41.001, (b)
  (4) of the Texas Property Code.




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                                                GRANTOR:


                                                GREGORY S. MILLIGAN, CHAPTER 11 TRUSTEE
                                                FOR DARYL GREG SMITH IN CASE NO. 21-60162
                                                BEFORE THE UNITED STATES BANKRUPTCY
                                                COURT FOR THE WESTERN DISTRICT OF TEXAS,
                                                WACO DIVISION




  STATE OF TEXAS                        §
                                        §
  COUNTY OF TRAVIS                      §

         This instrument was acknowledged before me on the ________ day of ______________, 2021, by
  GREGORY S. MILLIGAN, CHAPTER 11 TRUSTEE FOR DARYL GREG SMITH IN CASE NO. 21-
  60162 BEFORE THE UNITED STATES BANKRUPTCY COURT FOR THE WESTERN DISTRICT OF
  TEXAS, WACO DIVISION.


                                                Notary Public, State of Texas




  This instrument was prepared based on information furnished by the parties, and no independent title
  search has been made.

  AFTER RECORDING RETURN TO:
  DARYL GREG SMITH
  5826 Cooksey Lane
  Waco, Texas 76706




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                                     EXHIBIT A

                                LEGAL DESCRIPTION




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                                     EXHIBIT B

                                LEGAL DESCRIPTION




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                                     EXHIBIT C

                                LEGAL DESCRIPTION




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                                              EXHIBIT 5

                                  Legal Description of Subject Property




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                                                    EXHIBIT A

                                            Description of the Property

 Real property in the County of Bosque, State of Texas, described as follows:


 Tract 1:

 FIELD NOTES for a lot, tract, or parcel of land containing 146.440 acres lying and situated in the Walter W. Daws
 Survey A-226 and the Wm. W. Alsberry Survey A-20 in Bosque County, Texas. Said land is all of that certain
 146.440 acre Tract One described in a deed from Jean G. Hix, eta!, to Willow Creek Group, LLC. recorded as
 Instrument No. 2011-00003397 of the Official Public Records of Bosque County, and is more particularly described
 as follows:

     BEGINNING at a 3 inch pipe post at a fence corner in the west line of 66.88 acres described in a deed to
     Robert Woodrow Edwards recorded in Volume 520, Page 195 of the Official Public Records of Bosque
     County, for the most easterly southeast corner of said this tract;

        THENCE: S 58 deg 50 min 53 sec W 2881.76 feet generally along a fence to a¾ inch iron pipe found
        at a fence corner;

        THENCE: S 58 deg 41 min 46 sec W 1514.01 feet generally along a fence to a½ inch iron rod found
        (capped 5695) at a fence corner, for a inside corner of this tract;

        THENCE: S 30 deg 49 min 10 sec E 1351.62 feet generally along a fence to a 3/8 inch iron rod found
        at a fence corner in the north line of 3 .11 acres described in a deed to David Charles Prause et ux,
        recorded in Volume 457, Page 692 of the Official Public Records of Bosque County, for the most
        southerly southeast corner of this tract;

        THENCE: S 58 deg 26 min 45 sec W 907.13 feet generally along a fence to a 3/8 inch iron rod found
        in the east line of C.R. 3545, for the northwest corner of said Prause tract;

        THENCE : S 58 deg 47 min 20 sec W 11.28 feet to a point in the center of C.R. 3545, for the
        southeast corner of a 795 .560 acre Tract Two described in same deed to Willow Creek and southwest
        corner of this tract:

        THENCE: Along the center of said county road along the east line of said 795.560 acres the following
        bearings and distances to 60-D nails found: N 46 deg 30 min 12 sec W 115.51 feet, N 52 deg 37 min
        28 sec W 170.59 feet, N 48 deg 07 min 22 sec W 324.47 feet, N 50 deg 22 min 08 sect W 623.97 feet,
        N 37 deg 24 min 08 sec W 310.49 feet, N 49 deg 21 min 19 sec W 309.65 feet and N 34 deg 28 min
        31 sec W 418.02 feet to a 60-D nail set, for the existing southwest corner of the remainder of a
        Second Tract of Parcel One described in a deed to Walter T. Hix, IV recorded in Volume 408, Page
        813 of the Official Public Records of Bosque County tract and northwest corner of this tract;

        THENCE: N 58 deg 50 min 53 sec Eat 20.0 feet pass a ½ inch iron rod found (capped 5695) on the
        east line of said county road, in all 5872.40 feet across pasture to a ½ inch iron rod found (capped
        5695) in the west line of said Edwards tract, for the southeast corner of said Hix tract and northeast
        corner of this tract;

        THENCE: S 30 deg 58 min 39 sec E (827.78 feet generally along a fence and west line of said
        Edwards tract to the point of beginning.

 Tract 2:



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 FIELD NOTES for a lot, tract, or parcel ofland containing 795.560 acres lying and situated in the Wm. W. Alsberry
 Survey A-20, James Skinner Survey A-783, Wm. W. Alsberry Survey A-21. K.D. Turner Survey A-817, John
 Demoss Survey A-206 and the A. Frazier Survey A-282 in Bosque County, Texas. Said land is all of that certain
 795.560 acre Tract Two, described in a deed from Jean G. Hix, et al, to Willow Creek, LLC. recorded as Instrument
 No. 2011-00003397 the Official Public Records of Bosque County, and is more particularly described as follows:

    BEGINNING at a ½ inch iron rod found (capped 5695) at a fence comer, for the northwest comer of this
    tract;

       THENCE: N 58 deg 41 min 38 sec E 4296.96 feet generally along a fence to a 60-D nail found in a 6
       inch wood post on the west side of creek;

       THENCE: N 36 deg 20 min 35 sec E 1306.08 feet generally along a fence to a 8 inch pipe post at a
       fence angle;

       THENCE: N 71 deg 07 min 02 sec E 92.54 feet generally along a fence to a 8 inch pipe post at a
       fence comer, for the northeast comer of this tract;

       THENCE: S 16 deg 38 min 56 sec E 1846.90 feet generally along a fence to a ½ inch iron rod found
       (capped 5695) at a fence angle;

       THENCE: S 31 deg 07 min 04 sec E 2199 .85 feet generally along a fence to a ½ inch iron rod found
       (capped 5695) at a fence comer, for a inside comer of this tract;

       THENCE: N 59 deg 26 min 40 sec E 222.22 feet generally along a fence to a ½ inch iron rod found
       (capped 5695) at a fence comer, for the northwest comer of 150 acres described in a deed to Willow
       Creek Group, LLC. recorded as Instrument No. 2012-00001665 of the Official Public Records of
       Bosque County and a outside comer of this tract;

       THENCE: S 30 deg 33 min 14 sec E 2022.99 feet generally along a fence, to a½ inch iron rod found
       (capped 5695) at a fence comer in an old fence line, for the southwest comer of said 150 acres and a
       inside comer of this tract;

       THENCE: N 59 deg 22 min 29 sec E 1108.47 feet, generally along an old fence, and the extension
       thereof and south line of said 150 acres to a 60-D nail found in the center of C.R. 3545, for a
       northwest comer of the remainder of a Second Tract of Parcel One described in a deed to Walter T.
       Hix, IV recorded in Volume 408, Page 813 of the Official Public Records of Bosque County and the
       most easterly northeast comer of this tract;

       THENCE Along the center of said county road to 60-D nails found, west line of said Hix tract and
       west line of a 146.440 acre Tract One described in same deed to Willow Creek: S 28 deg 55 min 18
       sec E 204.01 feet, S 36 deg 32 min 40 sec E 455.62 feet, S 34 deg 28 min 31 sec E 523.00 feet, S 49
       deg 21 min 19 sec E 309.65 feet, S 37 deg 24 min 08 sec E 310.49 feet, S 50 deg 22 min 08 sec E
       623.97 feet, S 48 deg 07 min 22 sec E 324.47 feet, S 52 deg 37 min 28 sec E 170.59 feet, S 46 deg 30
       min 12 sec E 115.51 feet to a point for the southwest corner of said 146.440 acres, said point being S
       58 deg 47 min 20 sec W 11.28 feet from a 3/8 inch iron rod found on the east side of said county road
       being the northwest comer of 3.11 acres described in a deed to David Charles Prause et ux, recorded
       in Volume 457, Page 692 of the Official Public Records of Bosque County and the southeast corner of
       this tract;

       THENCE: S 58 deg 47 min 20 sec W 801.04 feet generally along a fence to a½ inch iron rod found,
       for the northeast comer of a tract of land described in a deed to Michael Lucas et ux, Alicia Lucas
       recorded as Instrument No. 201 l-00002241 of the Official Public Records of Bosque County;

       THENCE: S 58 deg 33 min 15 sec W 2411.09 feet generally along a fence and north line of said


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        Lucas tract to a ½ inch iron rod set at a fence comer on the west side of Willow Creek, for a inside
        comer of this tract;

        THENCE: S 41 deg 45 min 50 sec E 267.42 feet generally along a fence on the west side of Willow
        Creek to a½ inch iron rod found (capped 5695) at a fence angle;

        THENCE: S 22 deg 43 min 55 sec E 60.06 feet generally along a fence to a ½ inch iron rod found
        (capped 5695) at a fence intersection, for outside comer of this tract;

        THENCE: S 59 deg 58 min 00 sec W 841.82 feet generally along a fence to a½ inch iron rod found
        (capped 5695) at a fence angle;

        THENCE: S 57 deg 48 min 33 sec W 901.17 feet generally along a fence, and the extension thereof,
        to a½ inch iron rod found (capped 5695), for the southwest comer of this tract;

        THENCE: N 30 deg 49 min 09 sec W 4694.37 feet generally along a fence to a ½ inch iron rod found
        (capped 5695) at a fence comer, for a inside comer of this tract;

        THENCE: S 66 deg 33 min 18 sec W 267.02 feet generally along a fence to a ½ inch iron rod found
        (capped 5695) at a fence comer, for the southwest comer of this tract;

        THENCE: N 30 deg 57 min 46 sec W 2948.57 feet generally along a fence to a½ inch iron rod found
        (capped 5695) at a fence comer, for a inside comer of this tract;

        THENCE: S 59 deg 24 min 05 sec W 1900.11 feet generally along a fence to a ½ inch iron rod found
        (capped 5695) at a fence comer, for a outside comer of this tract;

        THENCE: N 30 deg 27 min 55 sec W 1121.92 feet generally along a fence to the point of beginning.



 FIELD NOTES for a lot, tract, or parcel of land containing 150.119 acres lying and situated in the Alexander Frazier
 Survey A-282 and the Walter W. Daws Survey A-226 in Bosque County, Texas. Said land is all of that certain tract
 described in a deed from Capital Farm Credit, FLCA to Willow Creek Group, LLC. recorded as Instrument No.
 2012-00001665 of the Official Public Records of Bosque County, and is more particularly describe as follows:

    BEGINNING at a½ inch iron rod found (capped 5695) at a fence comer in a south line of a 7687.75 acre
    First Tract described in a deed to Roberta Marchman et al, recorded in Volume 232, Page 744 of the Official
    Public Records of Bosque County, outside comer of a 795.560 acre Tract Two described in a deed to Willow
    Creek Group, LLC. recorded as Instrument No. 2011-00003397 of the Official Public Records of Bosque
    County and northwest comer of this tract;

        THENCE: N 59 deg 26 min 40 sec E 2604.02 feet generally along a fence to a½ inch iron rod found
        (capped 5695) at a fence comer, for a inside comer of said Marchman tract and most northerly
        northeast comer of this tract;

        THENCE: S 31 deg 06 min 45 sec E 1274. 72 feet generally along a fence to a ½ inch iron rod found
        (capped 5695) at a fence comer, for a outside comer of said Marchman tract and a inside comer of
        this tract;

       THENCE: N 59 deg 06 min 53 sec E 1677.78 feet generally along a fence and south line of said
       Marchman tract to a ½ inch iron rod found (capped 5695) at a fence comer, for a outside comer of a
       Second Tract of Parcel One described in a deed to Walter T. Hix, IV recorded in Volume 408, Page
       813 of the Official Public Records of Bosque County, and the most easterly northeast comer of this
       tract;




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        THENCE: S 30 deg 53 min 07 sec E 752.78 feet generally along a fence to a ½ inch iron rod found
        (capped 5695), for a inside corner of said Hix tract and southeast corner of this tract;

        THENCE: S 59 deg 22 min 29 sec W 4298.54 feet partially along a fence, north line of said Second
        Tract to a ½ inch iron rod found (capped 5695) at a fence corner, for a inside corner of said 795.560
        acres and southwest comer of this tract;

        THENCE: N 30 deg 33 min 14 sec W 2022.99 feet generally along a fence and a east line of said
        795.560 acres to the point of beginning.

 Tract 4:

 FIELD NOTES for a lot, tract, or parcel of land containing 147.214 acres lying and situated in the Walter W. Daws
 Survey A-226, Wm. W. Alsberry Survey A-20 and A. Frazier Survey A-282 in Bosque County, Texas. Said land is
 part of that ce1tain Second Tract of Parcel One described in a deed from Jean G. Hix and Heather G. Hix, as
 Independent Co-Executors for the Estate of Walter T. Hix, IV to Jean G. Hix, Heather G. Hix and Walter G. Hix, V
 as Co-Trustees, for the Walter T. Hix, IV Revocable Trust recorded in Volume 471, Page 835 of the Official Public
 Records of Bosque County, and is more particularly described as follows:

    BEGINNING at a ½ inch iron rod found (capped 5695) at a fence comer in the west line of a tract of land
    described in a deed to E. S. Dorman, Jr. recorded in Volume 315. Page 930 of the Deed Records of Bosque
    County, a southeast comer of7687.75 acre First Tract described in a deed to Roberta Marchman recorded in
    Volume 232, Page 744 of the Deed Records of Bosque County, for the northeast corner of said Second Tract
    and northeast corner of this tract;

        THENCE: S 31 deg 16 min 57 sec E 814.27 feet generally along a fence and east line of said Second
        Tract to a 3/8 inch iron rod found (capped) at a fence corner, for the existing southwest corner of said
        Dorman tract and northwest comer of 66.88 acres described in a deed to Robert Woodrow Edwards
        recorded in Volume 520, Page 195 ofthe Official Public Records ofBosque County;

        THENCE: S 30 deg 58 min 39 sec E (base bearing per Edwards deed) 664.59 feet generally along a
        fence, west line of said Edwards tract and east line of said Second Tract to a ½ inch iron rod found
        (capped 5695), for the northeast comer of a 146.440 acre Tract One described in a deed to Caddoa
        Creek Ranch, LLC. recorded as Instrument No. 2014-00002412 of the Official Public Records of
        Bosque County and southeast corner of this tract;

        THENCE: S 58 deg 50 min 53 sec W across pasture at 5852.40 feet pass a ½ inch iron rod found
        (capped 5695) on the east side of C.R. 3545, in all 5872.40 feet to a 60-D nail found in the center of
        said county road and in the east line of a 795.560 acre Tract Two described in same deed to Caddoa,
        for the northwest corner of said 146.440 acres and southwest corner of this tract;

        THENCE: N 34 deg 28 min 31 sec W 104.98 feet generally along the center of said county road and
        east line of said 795.560 acres to a 60-D nail found;

        THENCE: N 36 deg 32 min 40 sec W 455.62 feet generally along the center of said county road and
        east line of said 795.560 acres to a 60-D nail found;

        THENCE: N 28 deg 55 min 18 sec W 204.01 feet generally along the center of said county road to a
        60-D nail found in a cattle guard, and in the south line of a 150.119 acre Tract Three described in
        same deed to Caddoa, and in the nmth line of said Second Tract, for the most easterly northeast comer
        of said 795.560 acres and most westerly northwest corner of this tract;

        THENCE: N 59 deg 22 min 29 sec E 3190.07 feet partially along a fence, south line of said 150.119
        acres and north line of said Second Tract to a½ inch iron rod found (capped 5695) at a fence comer,
        for the southeast corner of said 150.119 acres, inside corner of said Second Tract and inside comer of
        this tract;


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      THENCE: N 30 deg 53 min 07 sec W 752.78 feet generally along a fence to a½ inch iron rod found
      at a fence comer in the south line of said Marchman tract, for the most easterly northeast comer of
      said 150.119 acres, most northerly northwest comer of said Second Tract and most northerly
      northwest comer of this tract;

      THENCE: N 58 deg 59 min 33 sec E 2720.10 feet generally along a fence, south line of said
      Marchman tract and north line of said Second Tract to the point of beginning.




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                                                 EXHIBIT B

                                          Depiction of the Premises

  Real property in the County of Bosque, State of Texas, depicted as follows:

    Depiction of the Land Up to 1300 acres, plus or minus, of the real property located l mile,
    more or less, \Vest of County Road 2490 and near the City of Valley Mills, Bosque County,
     Texas, within Property ID Number R.07041, R.25530, R.06132, R25531, R.25529, R.06131,
            R35349, R35348, R06l01, R25533, R0518I, R06113, R25532, and R35350




 together with, and including, (i) the non-exclusive right to use all of Landlord's easement rights and rights
 appurtenant to the Property where reasonably necessary for Tenant's conduct of its business on the
 Premises; (ii) an easement for light, solar energy resources, ingress, egress, and utility access over, under
 and across the Property as reasonably necessary for Tenant's conduct of its business on the Premises; and
 (iii) all other easements and rights set forth in the Lease.




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